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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

in re: ZLOGP, Inc, Case No. 15-11660
Reporting Period: October 1, 2016 - Gctober 31, 2016

MONTHLY GPERATING REPORT
File with Court and submit copy to United States Trustee within 20 days after end of month.

Submit copy of report to any official committee appointed in the case.

Schedule of Cash and
Bank Reconciliation (or of debtor's bank reconciliations
Schedule of Professional Fees Paid
of bank
Cash disbursements
ement of
Balance Sheet
of Taxes
C of TRS Porm 6123 oar
es of tax returns filed
of Unpai ition Debts
of accounts
Receivable

x
x
_X
x
x
x
x
x
N/A

 

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jury (28 U.S.C. Section 1746) that this report and the attached documents

 

 

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Date

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thf! 8/16
Date

 

O€o

Printed Name of Authorized Thdividual Title of Authorized Individual

 

* Authorized individual must be an officer, director or shareholder if debtor is a corporation: a partner if debtor
is a partnership; a manager or member if debtor is 2 limited Hability company,

MOR
(0807)

 
1p. P, Enc, nao No. 15-11h60

Debtor Reporiiny Pernd: October 1, 2016 ~ Orighor 27, M16

SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Aiounis teporied should be per the debiov’s books. nol the bank statement. ‘The beginning cash should be the cading cash from the prior month or, if this is the
fGrstzeport the amount should ke fhe balance on che date the petition wns Bled. ‘The amounts reported in the “CURRENT MONTH - ACTUAL cola must
equal the surn of the four bank accomat columns. ‘The amounts reported in the “PROFECTED® coturons should be taker from che SMALL SUSINESS INITIAL
REPORT (FORM irl), Attach copies of the bank statements and the cosh disbursements journal. ‘The iqiall disharsemovas listed in the disbersements jouna|
must qual tbe total disbursancals reported on this gage. A bank recoaciliation must be allached for each accounr, {See MOR-E (CONTE

 

 

 

* COMPENSATION TG SOLE PROPRIETORS FOR SER VECES RENDERED 10 BANKRUPTCY ESTATE

THE FOLLOWING SECTION MUSE BE COMPLETED

   

FORK VERA
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ZLGOP, Inc.

Other Receipts:

None

Other Disbursements:

None

Case Ne. 15-15660
Reporting Period: October 1, 2016 - Gctaber 31,2016

 

 
 

  

 

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Case 15-11660-KBO Doc675 Filed 11/18/16 Page 5 of 17

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~ Case 15-11660-KBO Doc 675 Filed 11/18/16 Page6ofi7 ~~

 

STATEMENT Page ¢ of 2

OF ACCOUNTS ZiQOP, INC. ,
UNION BANK Stotemend Number; 2TSI4SG58F

TRUSTEE SERVICES 0213 . 1O/ES1G. 10/31/16

POST OFFICE BOX 513R40 .

LOS ANGELES CA 90051-3846

Customer inquiries
800.662.8561

Thastk you for benkiag with us

cyYgoM TM 0000 since 2015
>|

FLOOP,. INC.

OPERATING €/O FRANK MFLATZ9
CHAPTER 11 DEBTOR IN POSSESION {HIP4
CASE FLE-114666 ane
45527 RUSTLING WOODS DERIVE
DENVER NO 28037

 

 

 

ANALYZED BusINEss CHECKING SUMMARY Account Number: 2333489589 |
Days in slatersent period: 31 :
Resinning balance on 10/1 3 B75, 384 84
Tote Credits $80
Total Debits 3,950.00

Checks paid {7 | -3,900.00 |

Olber debits, fees ancl adiustments £1 | £0.60 '

Ending Balance on 16/31 $ Ppa? | 434.84

DEBITS

 

 

 

 

Checks peld
Member Date dmount = Allender Date Anmunf Number Date Amauri
14982 10/25 $ 3,900.00 |
Other debits, fees und adiusiments
Bete Peseription fsferenca Amouaqi
1O/25 BAK SERVICES FEE ICHK) 90289196 § 50.00

 

Batiy LEDGER Balan es nn
Date Ledger Salunce Date ledger Balance Dats __taddyar Baleinca
lOs1-0/24 $ 2.375, 78A 84 O/PS-10/314$ 2.371 494.84

 

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8 UnfenBank OF ACCOUNTS ZLOOP, INC. u
UNION BANK Stetement Member: 21485597 .
TRUSTEE SERVICES @213 iO/1/16- 10/31/16
POST GFFICE BSX SlLSaSh
LOS AMGELES CA FO9051-2384¢
Customer inquisies =o
B0G-669.866)
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CVO M. OM con Thank you for banking wah us
since 2015 i
ZLOGQP, INC.
PAYROLL C/O FRANK MELASZG ;
CHAPTER 21 BDERTCR IN POSSESTON CDIPE i
CASE #15-11560 as
4552 RUSTLING WOSDS SRT¥E
DENVER NC 28037
ANALYZED BUSINESS CHECKING SUMMARY Account Number. 2133489597
Hays in slalement period: |
Beginning balance on 10/1 § 408
Fatal Creedits 0.00
Total Betts 0.09
Ending Balance on 10/31 § 406
DAtLY LEDGER BALANCE
Date ledger Balances Date dedgarBolince Dae lacwer Balence
TOfi-1G/31 4.06
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16 UnienBank

STATEMENT
OF ACCOUNTS
UNION BANC

TRUSTEE SERVICES 9213

POST GFFITE BOX 515808

LOS ABGELES CA $O051-2849

CYSOM OM O009
ZLO00F, INC.

Poge | of 3

ZICHOP, INC.

Staterment Number: 7133489505
ofl sis. 10/31/16

Customer Inquiries

800.466.8641

Thank vou for banking with us
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UTELITEES ASSURANCE C/G FRANK MEL@ZZ0

CHAPTER Li DEBTOR IN POSSESION {DIP

CASE #15-1146é60 :

4552 RUSTLING WOORS DRIVE

DENVER NC 23637
ANALYZED Business CHECKING SUMMARY Account Number: 2193489605
Days in statement periacd: Ft
Besianing balenes on 10/1 5 665,50
Total Credits o.06
Total Debits 0.06
Ending Balance on 10/34 $ $35.50

DAILY LEDGEE BALANCE

 

Date ladyerHicionea Dade

 

 

 

 

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WO/1-1O/3E 4 $25.50
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PSC pages 1124904 CHOCRE SONS EF

 

 

 
ZLOOP, Inc.
Disbursements
10/1/16-10/31/96

Date
10/25/2016
10/25/2016

Amouné

$ 3,900.00 US Trustee

$ 50.00 Union Bank
$ 3,950.00

Payee Account
Union Bank - Operating
Union Bank - Operating

 

 

 
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To re ZLGOP, Inc. Case No. 15-11660
Debtor Reporting Period: October 1, 2046 - October 31, 2016

STATEMENT OF OPERATIONS
(Income Statement}

‘The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revere when it is
realized and expenscs when they are incurred, regardless of when cash is actually received or paid.

Revenues
Retums and
Revenuc

in
Purchases
Cosi of Labor
Other Costs (attach

af Goods Sold

Taxes
and Licenses

ir and
and W:
Rent
ard

tavel

&

attach schedule
‘otal

Profit (Loss

Other Income (attach

Interest

Other attach schedule
Profit Before

Professional
U.S. Trustee
Interest Earned
Gain from

Total
Taxes
Profit (Loss

 

*"Insider” is defined in 11 U.S.C. Section 1011).

FORM MOR-2
(04/07)

 

 
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In re ZLOOP, Inc. Case No. 15-11660
Debtor Reporting Period: Geiober 1, 2016 - October 31, 2016

STATEMENT OF OPERATIONS - continuation sheet

 

   

  

Contract Labor
~ Write-off Race Tickets

 
      
 

Penalties
Franchise Taxes

 
   

Reorganization Hems - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.

FORM MOR-2 CONT'D
(0407)

 
dn re ZLOGP, Enc. Case No, 15411660
Debtor ring Period: 1.206 - October 31, 7016
BALANCE SHEET

The Balance Sheet ix ta be completed on an acerual basis only, Pre-petition liabilities must be classified separately from postpetition obligations,

Retainers
Assets (attach schedule’
"URRENT ASSETS

and
and
aud Office

wated
RFY &

to ingiders*
attach
TOTAL GTAER ASSETS

refer to FORM

= ent
f Protection
Fees
Due to Insiders*
Other an Liabilities (attach

Seeuted Debi
Debt

Unsecured Debt
PRE.

Stock
Paid-ln
Aceoudt
Owner's Equity Account
Retained INS -
Rerained ings =

NET OWNER Bs

 

*"Insider" ig defined in 11 U.S.C. Section #01(31).
*** Prepetition Liabilities include cenlain amounts that are Contingent, Unliquidated and/or Disputed.

FORM MOR-3
(ANT)

 

 

 
sees 1

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In re ZL OOP, tne. Ease No, 15-11560
Debtor

Reporting Periad: October 1, 2016 - October 31, 2016

BALANCE SHEET - continuation sheet

    
  
 
    

Advances

Escrow

  

Franchise Costs
Intetectual

Restricted Cash ts cash that is restricted for a specific use and not available 10 find 0
inte a separate account, such as an escrow account.

petations. Typically, restricted cash is sepregated

FORM MOR-3 CONT'D
47)

 
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In re ZL.OOP, Inc. Case No. 15-21660
Debtor Reporting Period: Oetcher 1, 2616 - Oetober 31, 2016

STATUS OF POSTPETITION TAXES

‘The beginning tex lability should be the ending liability from the prior mouth or, if this is the first Teport, the amount should be zera.
Attach photocopies of [RS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax retums filed during the reporting period. . :

 

Total
Total T:

 

SUMMARY GF UNPAID POSTPETITICN DEBTS

Attach aged listing of accounts payable,

 

 

Expiaio bow and when the Debter intends to pay any past-due postpetition debis.

*"Insider" is defined in 11 1/.5.C. Section 101031).

** Accrual for retained restructuring professionals through October 2076, based upon fee applications filed to date.

FORM MOR-+
(047)

 
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ZLOOP, inc.
Accounts Payable Aging
As of October 1, 2016

Vendor Current 1-30 Days 21-60 Days S1-80 Days 90+ Days Totat
B4&M Electic Motor Service $558.23 $528,23
Glue Ridge Lawncare $480.00 $495.00 $370.00 $4,355.00
Bolt & Tool Supply of Hiekary $574.47 9965.29 $939.46
Bruning & Federle Manufacturing $270.00 $270.00
Catawaba County Tax Collector $2,560.62 $2,560.62
Charter Communications $273.92 8273.92
City of Hickory $161.54 $70.02 $231.56
Duke Energy $5,941 38 $3,222.73 $9,164.11
Jarnes Gxyger.& Supply Company $981.38 $24.39 SOvS.77
Laboratory Corporation of America Holdings $126.00 $126.00
Law Offices of Matthew K. Rogers, PLLC $3,024.22 $14,544.17 S17 565.39
Le Bleu Bottled Water $25.62 $26.62
NV Enegy $80.77 $2,961.02 $2,441.79
Paul's Plumbing & Heating, Inc. $1,934.00 $1684.06
Pheips Dunbar, LLP . $2,963.99 $2,363.89
Progressive Business Publications $299.00 $286.00
Republic Services $470.94 $441,890 S27C.8o
Smart Metals Reeyeling $13,949.00 313,548,06
Southland Brokerage Co.. Inc. $6,152.25 $6,082.25
VESCO Toyotalit $472.08 $472.05

 

$0,00 $70,088.60 $1,054.80 $3,259.78 $47 645 50 362,028.58

Suey

 

 
 

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Tore ZLOOP, Inc.
Debtor

 

ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Total Accounts Receivable at the beginni i 90,604.33
+ Amounts billed during the od
- Amounts collected the period

Total Accounts Receivable at the end of the i 90,604.33

0-30 old

31-60 old

61 - 90 days old

91+ old

Total Accounts Receivable

Amount considered uncollectible Debt -
ccounts Receivable (Net 90,604.33

1 26
89,089.07
90,604.33

DEBTOR QUESTIONNAIRE

   

 

 

Have any assets been sold or transferred outside the normal course of business xX
this reporting period? Hf yes, provide an explanation below.

 

2. Have any funds been disbursed from any account other than a debtor in possession XK
account this reporting period? If yes, provide an explanation below.

 

3. Have all postpetition tax returns been timely filed? Hf ao, provide an explanation Xx
below.

 

 

4. Are workers compensation, general liability and other necessary insurance x
coverages in effect? Ifno, provide an explanation below.

 

5. Has any bank account been opened during the reporting period? If yes, provide x
documentation identifying the opened account(s}. If an investment account has been opened

 

 

provide the required documentation pursuant to the Delaware Local Rule 4001-3.

 

 

 

FORM MOR-5
(04/07)

 

 
